         IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF MISSOURI
                                    Southern

UNITED STATES OF AMERICA,                 )
                                          )
                         Plaintiff,       )
                                          )
        vs.                               )      No. 08-03081-04-CR-S-ODS
                                          )
STEPHEN R. SMITH,                         )
                                          )
                         Defendant.       )


                         REPORT AND RECOMMENDATION
                         CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. §636, and has

entered a plea of guilty to Count One of the Indictment, filed on

August 5, 2008. After cautioning and examining the Defendant under

oath concerning each of the subjects mentioned in Rule 11, I

determined that the guilty plea was knowledgeable and voluntary as

to each count, and that the offense charged is supported by a

factual basis for each of the essential elements of the offense.

I therefore recommend that the plea of guilty be accepted and that

the   Defendant     be   adjudged   guilty     and   have   sentence     imposed

accordingly.



Date:         10/29/08                      /s/ James C. England
                                             JAMES C. ENGLAND, CHIEF
                                          UNITED STATES MAGISTRATE JUDGE




        Case 6:08-cr-03081-ODS   Document 28    Filed 10/29/08   Page 1 of 2
                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within ten(10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. §636(b)(1)(B).




                                    2


     Case 6:08-cr-03081-ODS   Document 28   Filed 10/29/08   Page 2 of 2
